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October 29, 2024

Hon. Lewis A. Kaplan
United States District Court
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, New York 10007

Re:     United States v. Nishad Singh, 22-cr-673 (LAK)

Dear Judge Kaplan:

The undersigned respectfully submits an additional sentencing letter for Nishad Singh in advance of his
sentencing hearing, scheduled for Wednesday, October 30, 2024 at 3pm. The attached letter is from John
Ray, the Chief Executive Officer of FTX Trading Ltd., regarding Nishad Singh’s assistance to the bankruptcy
team.


Sincerely,



/s/ Andrew Goldstein
Andrew D. Goldstein


ADG




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